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                             UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF PENNSYLVANIA
                                 PITTSBURGH DIVISION

 DONALD ROSE, Individually and For Others            Case No. 2:19-cv-1343-CRE
 Similarly Situated,
                                                     JURY TRIAL DEMANDED
      Plaintiff,
                                                     COLLECTIVE ACTION PURSUANT
 v.                                                  TO 29 U.S.C. § 216(b)

 EQUITRANS MIDSTREAM
 CORPORATION, and EQM MIDSTREAM
 PARTNERS, LP,

      Defendants.



                    AGREED RULE 41 DISMISSAL WITHOUT PREJUDICE


          Plaintiff Donald Rose dismisses his claims against Defendants Equitrans Midstream Corporation

and EQM Midstream Partners, LP without prejudice pursuant to Rule 41(a)(1)(A)(i). The Parties have

conferred and Defendants, through their counsel, are in agreement with this dismissal. The Parties request

the Court terminate all further proceedings and close the case.
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                            Respectfully submitted,

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                                                  ATTORNEYS FOR DEFENDANTS


                                   CERTIFICATE OF SERVICE

       On June 2, 2020, I hereby certify that I served the foregoing document on all parties and/or their
counsel of record via this Court’s CM/ECF filing in accordance with the Federal Rules of Civil Procedure.

                                                        /s/ Andrew W. Dunlap
                                                        Andrew W. Dunlap




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